                UNITEDCase STATES 15-16782-RAM
                                     BANKRUPTCYDoc   COURT,88 SOUTHERN
                                                                Filed 08/28/17  PageOF
                                                                            DISTRICT 1 of  1
                                                                                         FLORIDA
                                   CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                        FIRST MODIFIED PLAN
DEBTOR: D e l f i n F a n d i n o        JOINT DEBTOR:                       CASE NO.: 15-16782-RAM
Last Four Digits of SS# 5419            Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s)
to pay to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not
collected will be paid to creditors pro-rata under the plan:

           A.     $ 266.04 for months 1to 28;
           B.     $ 296.55 for months 29to 60; in order to pay the following creditors:

Administrative:             Attorney's Fee - $ 3650 + 775 (Motion to value) + 525 (Motion to Modify) = $4950
                            TOTAL PAID $ 1500 Balance Due $ 3450
                                                    payable $ 94.02/month (Months 1to 28)
                                                    payable $ 204.38/month (Months 29to 32)

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
1. None                                            Arrearage on Petition Date $
Address:                                           Arrears Payment        $                   /month (Months          to        )
                                                   Regular Payment        $                   /month (Months          to        )
Account No:

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT
TO BR 7004 and LR 3015-3.

     Secured Creditor        Description of Collateral    Interest       Plan Payments         Months of Payment      Total Plan Payments
                             and Value of Collateral        Rate
Bank of America              45 E 40 Street, Hialeah,                                                              $310.73 (Per
1800 Tapo Canyon Rd                                      5.25%          $11.10                1 to 28
                             FL 33013                                                                              ECF#82)
Simi Valley, CA 93063
                             $143,570
Account No: xxxx1899

Priority Creditors: [as defined in 11 U.S.C. §507]

1. None                              Total Due $
                                     Payable $                 /month (Months            to     ) Regular Payment $

Unsecured Creditors: Pay $ 144.98/month (Months 1to 28), Pay $ 62.51                /month (Months 29to 32, and Pay $ 266.89        /month
(Months 33to 60).

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above: Debtor is current with secured creditor Ocwen Loan Servicing, LLC will continue to pay said
creditors directly outside the chapter 13 plan. The debtor shall surrender 2007 FTWD Fleetwood Enterprises Trailer Vin:
XXXX2901260 to Bank of America.
I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
/s/Robert Sanchez, Esq.
Attorney for the Debtor                                              Joint Debtor
Date: 8/28/2017                                                      Date:



LF-31 (rev. 01/08/10)
